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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
               Plaintiffs,          )
                                    )                4:05CR3027
          v.                        )
                                    )
JOSEPH L. YOUNG and                 )
JIMMY D. AMOS,                      )                   ORDER
                                    )
               Defendants.          )



     IT IS ORDERED:

     The motion of Jimmy D. Amos, filing 28, to continue trial is
granted and,

     1. Trial of this matter as to both defendants is continued
to 9:00 a.m., July 18, 2005 for a duration five days before the
Honorable Richard G. Kopf in Courtroom 1, United States
Courthouse and Federal Building, 100 Centennial Mall North,
Lincoln, Nebraska. Jury selection will be held at commencement
of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
June 14, 2005 and July 18, 2005 shall be deemed excludable time
in any computation of time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional
time to adequately prepare the case, taking into consideration
due diligence of counsel, the novelty and complexity of the case,
and the fact that the failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).

     DATED this 14th day of June, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
